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                                                                           FILED
                                                                       June 1, 2023
                                                                  ANA C. VISCOMI, J.S.C.
ANA C. VISCOMI J.S.C.
SUPERIOR COURT OF NEW JERSEY
56 PATERSON STREET
P.O. BOX 964
NEW BRUNSWICK, NEW JERSEY 08903-0964

 KIMBERLY NARANJO,                                   SUPERIOR COURT OF NEW JERSEY
                                                     CIVIL DIVISION: MIDDLESEX COUNTY
                                Plaintiff,
                                                     DOCKET NO: MID-L-6108-21 (AS)
vs.                                                                  Civil Action
JOHNSON & JOHNSON; JOHNSON &                                           ORDER
JOHNSON CONSUMER INC., f/k/a
JOHNSON & JOHNSON CONSUMER
COMPANIES, INC.; JOHN DOE
CORPORATIONS 1-50; JOHN DOE
CORPORATIONS 50-100,
                       Defendants.


Defendant Johnson and Jonson moves to quash the subpoenas ad testificandum served on Thibaut
Mongon, Paul Ruh and Darren Snellgrove, respectively. The court heard oral argument on May
24, 2023, and reserved its decision.

For reasons set forth below, the motion to quash all three respective subpoenas is denied.

The court initially reserved on these motions with a concern that plaintiffs might consider this
precedential, i.e. to seek apex depositions as a matter of ordinary course of this litigation. As
noted, at trial of the Barden consolidated matters, over the objection of J & J, the court ordered
then CEO Alex Gorsky to testify at trial with regard to personal knowledge after statements made
during a personal appearance on “Mad Money with Jim Cramer.”

And while the court agrees with defense counsel that plaintiffs herein have ignored the traditional
means of preliminary discovery, e.g., documentary discovery and deposition of other lower
ranking individuals or PMK depositions, the court agrees with plaintiffs’ counsel that the Court
Rules do not require same. R. 4:15-1.

The court is satisfied that plaintiffs have demonstrated a need for these depositions now given the
statements to which these individuals are signatories of in the Kenvue SEC filing and/or the
October 11, 2021, Memorandum of Approval regarding the Restructuring of JJCI.

The court also notes that counsel indicated at oral argument that at least one of these individuals
have testified in connection with the bankruptcy proceedings so there is no hardship in producing
these individuals.
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The court is also persuaded that given the central issue of successor liability, the fact that the
bankruptcy stay has prevented many of the living mesothelioma plaintiffs to be deposed, that many
have died, and as to the living plaintiffs, the urgency of their medical conditions, that these crucial
depositions are required to resolve the successor liability issue, once and for all, in the event, after
all appropriate appellate review of any bankruptcy ruling, so that this court is prepared to proceed
to trial as soon as possible if the court attains full jurisdiction.

Finally, while the court received unsolicited correspondence from plaintiffs’ counsel as it finalizes
this decision, the court did not consider same for purposes of this ruling.

    Therefore, it is on this 1st day of June 2023, ORDERED:

    1. Defendant is ordered to produce these individuals subject to plaintiffs serving subpoenas
       duces tecum to limit the scope of such testimony to personal knowledge relative to the
       issue raised on the motions to dismiss – any and all issues that may touch upon successor
       liability, pursuant to Ramirez v Amsted Industries, Inc., 86 N.J. 332 (1981).

    2. Plaintiffs are ordered to coordinate their efforts as the court envisions these depositions
       to apply to all asbestos/talc/mesothelioma matters for which plaintiffs have plead or seek
       to implead Kenvue, Janssen, and/or Johnson and Johnson Holdco (NA).


    3. Plaintiffs are ordered to coordinate these discovery depositions with plaintiffs’ counsel in
       the J & J ovarian cancer claims pending in Atlantic County to the extent that the Honorable
       John Porto orders same and orders coordination with these cases, but plaintiffs’ counsel
       herein should not await a ruling in those proceedings for purposes of issuing subpoenas
       duces tecum and scheduling the depositions.

    4. It is further ordered that the scheduling of these depositions shall be in accordance with
       the terms of the Asbestos General Order requirements for the scheduling of Corporate
       Representative/PMK depositions even though these depositions are not PMK
       depositions.


    5. It is further ordered that while all interested plaintiffs’ counsel may attend such
       depositions, virtually or in person, plaintiffs’ counsel shall designate only one examiner
       per each respective individual being deposed. This order does not apply to setting any
       such limitation to the ovarian talc plaintiffs’ counsel as that issue rests solely with Judge
       Porto.




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    6. This order is not meant to limit any further relevant discovery, including but not limited
       to the depositions of other individuals with personal knowledge of any issues involving
       successor liability.



                                                      /s/ Ana C. Viscomi
                                                      ANA C. VISCOMI, J.S.C.




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